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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.
                                                            Case No. 1:21-cr-3 (RCL)
 JACOB ANTHONY CHANSLEY,

       Defendant.


                                  MEMORANDUM OPINION

        Defendant Jacob Anthony Chansley, who was the face of the riot at the United States

Capitol on January 6, 2021, is now the face challenging the prosecutions of the criminal conduct

that occurred that day. Citing what he calls "newly discovered" evidence, Mr. Chansley moves to

vacate, set aside, or correct his guilty plea and corresponding sentence under 28 U.S.C. § 2255.

The government opposes and urges the Court to summarily deny Mr. Chansley's motion.

       Upon consideration of Mr. Chansley's motion, the government's opposition, the record

therein, and the applicable law, the Court will DENY Mr. Chansley's § 2255 motion.

                                    I.      BACKGROUND

       A. Mr. Chansley's Involvement in the Events of January 6, 2021 and Indictment

       On January 6, 2021, at approximately 1:00 pm, the Senate and House of Representatives

assembled in a joint session at the U.S. Capitol building to count electoral votes cast in the 2020

presidential election. Statement of Offense, ECF No. 70,    ,r 3.   Then-Vice President Michael R.

Pence was present and presiding over the joint session. Id. At approximately 1:30 pm, the Senate

and House adjourned to their respective chambers to resolve an objection to the certification. Id.

Vice President Pence adjourned with the Senate and presided over that proceeding.               Id.




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 Meanwhile, a large crowd of rioters gathered outside of the building, assembled behind barricades

 in front of the police line at the West front of the Capitol. Id. ,r,r 4, 5.

         At approximately 1:50 pm, Mr. Chansley scaled a media tower constructed in preparation

 for the presidential inauguration. Id.        ,r 5.   That day, Mr. Chansley was shirtless, wearing a homed

 and fur-lined hat, and red, white, and blue face paint. Id. He carried a six-foot-long pole with an

American flag zip-tied to it and a spearhead affixed to the top, as well as a bullhorn. Id.; United

States v. Chansley, 525 F. Supp. 3d 151, 155 (D.D.C. 2021). Approximately ten minutes later,

Mr. Chansley and the other rioters breached the barricades and advanced to the Capitol's West

front. Statement of Offense       ,r,r 6, 7.    At approximately 2:13 pm, rioters forced open the Senate

Wing Door, which set off a loud alarm. Id.             ,r 9.   One minute later, Mr. Chansley entered the Capitol

through the broken door, becoming one of the first thirty rioters to do so. Id. ,r 10.

        At approximately 2:16 pm, two minutes after entering the Capitol, Mr. Chansley and other

rioters charged upstairs to the second floor of the Senate side of the Capitol building. Id.           ,r 11.   On

the second floor, Mr. Chansley encountered several U.S. Capitol police officers, including Officer

Keith Robishaw. Chansley, 525 F. Supp. 3d at 155. Officer Robishaw instructed Mr. Chansley

and his fellow rioters to leave the building. Statement of Offense ,r 11. Most of the other rioters

complied, but Mr. Chansley refused. Id.                    Instead, he used his bullhorn to demand that the

lawmakers be brought out to face the crowd. Id. At 2:20 pm, the members of the Senate and

House, including the Vice President, evacuated their chambers and all certification proceedings

were suspended. Id.    ,r 10.   During this time, Mr. Chansley ascended another staircase, arriving on

the third floor of the Senate side of the Capitol building. Id.            ,r 12.
        At approximately 2:52 pm, Mr. Chansley entered the Senate gallery alone. Id. While

standing in the gallery, Mr. Chansley shouted obscenities. Id. After that, Mr. Chansley exited the



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gallery and descended a staircase, where he again met Officer Robishaw. Id.                 ,r 13.   Officer

Robishaw again instructed Mr. Chansley to leave the building, but Mr. Chansley again refused.

Id. Instead, Mr. Chansley said that he planned to join rioters who were on the Senate floor. Id.

        Mr. Chansley then entered the Senate chamber, followed by Officer Robishaw. Id. Once

inside the Senate chamber, he climbed onto the Senate dais and sat in the Vice President's chair,

taking pictures of himself as he did so. Id.    ,r 14.   Officer Robishaw asked Mr. Chansley to vacate

the seat, but Mr. Chansley refused. Id. Instead, he stated, "Mike Pence is a fucking traitor." Id.

Mr. Chansley then grabbed paper left on the dais and wrote the following note to the Vice

President: "It's Only A Matter of Time. Justice Is Coming!" Id.; Chansley, 525 F. Supp. 3d at

155. Mr. Chansley repeated the same message verbally to a reporter from The New Yorker who

was filming the events in the Senate chamber at the time. Chansley, 525 F. Supp. 3d at 155.

Officer Robishaw asked that Mr. Chansley vacate the seat and assist him by using his bullhorn to

convince his fellow rioters to leave the Senate chamber, but Mr. Chansley refused. Statement of

Offense ,r 15. Instead, Mr. Chansley used his bullhorn to lead his fellow rioters in the following

"prayer": "Thank you for allowing the United States of America to be reborn. Thank you for

allowing us to get rid of the communists, the globalists, and the traitors within our government."

Id.; Chansley, 525 F. Supp. 3d at 155. At that time, there were approximately 20 rioters in the

Senate Chamber. Sent'g Hr'g Tr., ECF No. 111, at 7:7-12. Officer Robishaw was the only law

enforcement officer present. Statement of Offense ,r 14. At approximately 3 :09 pm, additional

law enforcement officers arrived in the Senate chamber. Id.         ,r 16.   The officers then cleared Mr.

Chansley and the other rioters from the chamber. Id.

       Several media outlets interviewed Mr. Chansley in the hours and days after he left the

Capitol. Id.   ,r 18.   In an interview on January 7, 2021, Mr. Chansley stated: "The fact that we had



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 a bunch of our traitors in office hunker down, put on their gas masks and retreat into their

 underground bunker, I consider that a win." Id.; Chansley, 525 F. Supp. 3d at 156.

         On January 8, 2021-just two days after the riot-the government filed a sealed criminal

 complaint against Mr. Chansley, alleging that his actions on January 6 violated various federal

laws. See ECF No. 1. Three days later, on January 11, 2021, a grand jury returned an indictment

against Mr. Chansley, making him the first Capitol rioter to be indicted in connection with the

events of January 6. Indictment, ECF No. 3; Sent'g Hr'g Tr. at 3:22-24. The indictment charged

him with six counts: civil disorder in violation of 18 U.S.C. § 23 l(a)(3) (Count One); obstruction

of an official proceeding in violation of 18 U.S.C. § 1512(c)(2) (Count Two); entering and

remaining in a restricted building in violation of 18 U.S.C. § 1752(a)(l) (Count Three); disorderly

and disruptive conduct in a restricted building in violation of18 U.S.C. § 1752(a)(2) (Count Four);

violent entry and disorderly conduct in a Capitol building in violation of 40 U.S.C. § 5104(e)(2)(A)

(Count Five); and parading, demonstrating, or picketing in a Capitol building in violation of 40

U.S.C. § 5104(e)(2)(G) (Count Six). See Indictment.

         On the same day as his indictment, Mr. Chansley was arrested and appeared before U.S.

Magistrate Judge Deborah M. Fine in the District of Arizona. Chansley, 525 F. Supp. 3d at 156.

The government moved for, and Magistrate Judge Fine ordered, Mr. Chansley' s pre-trial detention.

Id. at 156-57; United States v. Chansley, 2:21-mj-5000 (DMF), ECF Nos. 5, 10 (D. Ariz. Jan. 19,

2021).   Magistrate Judge Fine then ordered Mr. Chansley to be committed to this District.

Chansley, 2:21-mj-5000 (DMF), ECF No. 11 (D. Ariz. Jan. 19, 2021). Mr. Chansley was arraigned

by the undersigned in late January 2021. Minute Entry (01/29/2021). He was then represented by

Mr. Albert Watkins ("plea counsel"). Id.




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             B. Video Evidence and Discovery Process

             Mr. Chansley, through plea counsel, moved in this Court for pre-trial release and the Court

    held a hearing on the motion on March 5, 2021. Minute Entry (03/05/2021); ECF No. 12. At the

    hearing, plea counsel made several representations regarding the video evidence in this case: that

    "there's miles and miles and miles of footage of my client from January 6th[,]" ECF No. 28, at

    7:5--6; that he "provided the Court with the video footage that we were able to gamer through an

    independent investigative undertaking" in conjunction with a "former FBI special agent[,]" id. at

    7:13-15; and "[t]here's a lot of footage of my client interacting peacefully, chatting with and

    supporting law enforcement who were similarly positioned in [the Senate] part of the Capitol[,]"

    id. at 10:2-4. Considering this evidence, in conjunction with the other evidence of Mr. Chansley's

    actions that day, the Court denied Mr. Chansley's motion. Chansley, 525 F. Supp. 3d at 172.

            The case then proceeded. As part of the discovery process, the government filed in March

and April 2021 motions for a protective order and for an order to disclose certain sealed and

protected materials with defense counsel. Gov't Opp'n, ECF No. 123, at 2; ECF Nos. 21 & 36.

The Court granted both motions within days of their filing. ECF Nos. 24 & 37.

            On May 20, 2021, the government provided its first notice of discovery with the Court. 1

ECF No. 38. That notice contained a letter to plea counsel, dated the same date, recounting the

various discovery productions made to counsel between January and mid-May 2021. ECF No. 38-

1. Of relevance here, the letter listed the following productions:

           (1) video footage from the Senate floor (produced April 24, 2021); (2) video
           footage from a subpoena to The New Yorker (produced April 24, 2021); (3) nine
           videos from relevant Metropolitan Police Department ("MPD") body worn cameras
           ([produced] May 17, 2021); (4) five videos of Capitol Closed Circuit Video
           ("CCV") footage ([produced] May 18, 2021); and (5) two grand jury transcripts
           with ten accompanying grand jury exhibits ([produced] May 19, 2021).

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    In total, the government provided nine discovery updates in this case. Gov't Opp'n at 3 n.2.

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 Gov't Opp'n at 2 (referencing ECF No. 38-1 at 2).

        On September 17, 2021, the government provided two updates on the status of discovery.

 ECF Nos. 75 & 76. In the first update, describing the status of discovery as of August 23, 2021,

the government expressly acknowledged the following: "Defense counsel in Capitol Breach cases

have made requests including any and all information that captures an individual defendant's

conduct or statements; shows people "peacefully walking around the Capitol"; or suggests that a

member (or members) of law enforcement allowed people to enter or remain in the Capitol or on

restricted grounds, acted friendly or sympathetic to the rioters, or otherwise failed to do their

jobs." ECF No. 75 at 2 (emphasis added). In response, the government noted "there may be

additional types of information a defendant may consider material or exculpatory" but that "since

the government does not know the defense theory in any particular case, it is impossible to [sic]

for the government to determine what other types of information a defendant may believe to be

material." Id. The government added: "To the extent the type of information described above

may exist, it may be interspersed among the voluminous sets of data." Id.

       The government informed plea counsel of its proposed solution to this discovery

conundrum. The government described how it was working with the Federal Public Defender

("FPD") for the District of Columbia to upload discovery materials to electronic databases. Id. at

3. Specifically, the government noted that it had already begun populating one database, named

Relativity, with documentary discovery.     Id. at 5.   Further, due to processing and usability

limitations associated with Relativity, the government explained that it was in the final stages of

contracting to facilitate, in close consultation with FPD, production of video discovery via a

different database, named Evidence.com. Id. at 7.




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        In the second discovery update of September 17, 2021, describing the status of discovery

as of September 14, 2021, the government confirmed that the Evidence.com contracting process

was complete and that the database was operational. ECF No. 76 at 2-3. The government further

reported that it was in the process of populating Evidence.com with approximately 2,300 hours of

footage captured by law enforcement body-worn cameras. Id. at 3. Specifically, the government

stated that it "expect[ed} to produce [such footage] no later than the end of next week (Friday,

September 24, 2021)." Id. (emphasis added).

        On October 25, 2021, the government provided its fourth update regarding the status of

discovery, current as of October 21, 2021. ECF No. 78. The update reported, in relevant part, that

the following evidence had been made available on Evidence.com: (1) 16,925 closed circuit

television ("CCTV") video files, containing approximately 4,800 hours of footage, recorded by

515 cameras located throughout the Capitol; (2) 15 maps indicating the location of cameras in the

Capitol Visitor Center and interior of the Capitol; and (3) 1,676 files from body-worn cameras

belonging to Metropolitan Police Department ("MPD") officers, containing approximately 1,600

hours of footage. Id. at 2. The government later represented that these materials were made

available to defense counsel through Evidence.com on October 22, 2021. Def.'s Mot., ECF No.

117, at 12; Gov't Opp'n at 16.      Separately, the government provided defense counsel with

information about the location of the files within the database, their naming conventions, and the

videos' timestamps. Gov't Opp'n at 17. Additionally, the government noted in the October 25,

2021 update that the FPD, who was coordinating access to Evidence.com on behalf of defendants

charged with crimes related to January 6, 2021, had sent emails to all defense counsel with

information on how to request a license to access the database. ECF No. 78 at 2. The FPD had

also developed and shared a guide for defense attorneys on how to use Evidence.com and share



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 discovery with their clients. Id. Mr. Chansley's plea counsel received the FPD's notification on

 October 15, 2021. Def.'s Reply at 6-7.

        On November 5, 2021, the government provided its fifth update regarding the status of

discovery, current as of that date. ECF No. 79. The government noted that, since the last status

update, the government had populated Evidence.com with additional video footage. Id. at 2. In

relevant part, the government stated that it shared an additional 4,204 CCTV video files recorded

by 123 cameras, some of which were located in the Capitol's interior. Id.

        C. Mr. Chansley's Guilty Plea and Sentencing

        On September 3, 2021, Mr. Chansley pleaded guilty to Count Two, obstruction of an

official proceeding in violation of 18 U.S.C. § 1512(c)(2), in exchange for the government's

dismissal of the five other charges then-pending against him. See Minute Entry (09/03/2021). Mr.

Chansley, in consultation with plea counsel, executed and signed a written plea agreement with

the government. Plea Agreement, ECF No. 69. In the plea agreement, Mr. Chansley agreed that

he was pleading guilty to Count Two because he was "in fact guilty." Id. at 10. In so doing, Mr.

Chansley averred that the Statement of the Offense "fairly and accurately describe[d] [his] actions

and involvement" in the offense. Id. ,i II. Mr. Chansley also agreed that he had "read every page

of [the] Agreement," "discussed it with [his] attorney," and "fully underst[ood the] Agreement and

agree[d] to it without reservation." Id. at 10. In the plea agreement, Mr. Chansley attested that he

was "satisfied with the legal services provided by [his] attorney in connection with [the]

Agreement and the matters related to it." Id. at 10. Mr. Chansley reiterated his satisfaction with

plea counsel to this Court during the plea hearing. See Plea Hr'g Tr., ECF No. 110, at 7:9-15;

9:22-25.




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          The plea agreement contained-and Mr. Chansley assented to-several express waivers.

 Specifically, Mr. Chansley agreed to waive his right to directly appeal his sentence, except for his

rights to appeal a sentence imposed beyond the statutory maximum or U.S. Sentencing Guidelines

range, and to appeal based on ineffective assistance of counsel.                    Plea Agreement    ,r IX(D).
Furthermore, Mr. Chansley agreed to waive "any right to challenge the conviction entered or

sentence imposed" through a motion brought under 28 U.S.C. § 2255, unless "such a motion is

based on newly discovered evidence or on a claim that [Mr. Chansley] received ineffective

assistance of counsel." Id.        ,r IX(E).
          Finally, Mr. Chansley agreed to several provisions regarding sentencing. As relevant here,

Mr. Chansley agreed that his sentence would be "determined by the Court, pursuant to the factors

sector forth in 18 U.S.C. § 3553(a), including a consideration of the Sentencing Guidelines[,]" id.

,r IV,   and that he understood "that the sentence to be imposed is a matter solely within the

discretion of the Court." Id.       ,r VII.    He further agreed to the government's estimated offense level

calculations under the Guidelines. Id.           ,r IV(C).   Specifically, he agreed that the estimated offense

level for Count Two was 25, representing the base offense level (14) plus enhancements for

property damage (8) and substantial interference (3). Id.               ,r IV(A).   The estimated Count Two

offense level of 25, minus reductions for acceptance of responsibility (2) and assistance to

authorities (1 ), rendered an estimated total offense level of 22. Id. Accordingly, Mr. Chansley

agreed that, considering an estimated total offense level of 22 and criminal history category of I,

id.   ,r IV(B),   the estimated Sentencing Guidelines range in his case was 41 to 51 months'

incarceration. Id.     ,r IV(C).     He further concurred with the government's estimated monetary

penalties, including a fine range of $15,000 to $150,000, id., a special assessment of $100 for his




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 felony conviction, id.   ,r,r I,   IV(C), and restitution in the amount of $2,000, id.   ,r XI.   Finally, he

 agreed that his conviction carried a maximum supervised-release term of three years. Id.            ,r I.
        On November 17, 2021, after the government's five updates regarding the status of

 discovery, this Court sentenced Mr. Chansley. See Minute Entry (11/17/2021). In calculating the

 applicable sentence, the Court agreed with the Guidelines calculations as outlined by the parties in

the plea agreement and calculated a total offense level of 22. Sent'g Hr'g Tr. at 2:25-3:7. When

it came time for plea counsel's presentation, he appreciated the seriousness of the events of January

6, 2021, id. at 14 :9-11, and acknowledged the overwhelming evidence in this case: "I've provided

you with videos. I've provided the government with videos. The government's given me videos.

The government's given you videos that I've given her. This isn't a drive-in movie theater. You

don't need to see more video." Id. at 16:18-21. Plea counsel went on to focus on Mr. Chansley's

acceptance of responsibility, which he previewed by saying, "Jake presents with having apologized

without equivocation. No buts, no blames, I did it, I want to be accountable, I want to be held

accountable." Id. at 27:15-17.

        Mr. Chansley then spoke to the Court, accepting responsibility for his actions and

expressmg remorse. See, e.g., id. at 32:23-33:4 ("So I had to come to terms with the fact that I

was in solitary confinement because of me, because of my decision. I broke the law, and if I

believe in freedom, if I believe in law and order, if I believe in responsibility and accountability,

then that means that I should do what Gandhi would do and take responsibility even and especially

when it incriminates me. No ifs, ands, or buts about it. That's what men of honor do."); id. at

34:25-35:5 ("I am truly, truly repentant for my actions, because repentance is not just saying

you're sorry. Repentance is apologizing and then moving in the exact opposite direction of the sin

that you committed. And that's what I've been trying to do ever since I realized the magnitude of



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    my error and the magnitude of my mistake."). Mr. Chansley unequivocally stated: "[I]n retrospect,

    I would do everything differently on January 6. In all honesty, I would do everything differently."

    Id. at 35:16-18. The Court heavily credited Mr. Chansley's apparent remorse and acceptance of

    responsibility. See id. at 48:21-22 ("[Y]ou have evolved in your thinking clearly and reversed

    your thinking in many ways"); id. at 49:3-5 ("You've certainly done everything you could today

    to convince the Court that you're anew person, and I think you're on the right track"); id. at 55:23-

    56:2 ("[Y]ou were smart. It may not feel it today, but let me guarantee you, you were smart. You

    did the right thing. And you owned up to it today in a fashion that is unusual for me to see, the

    candor with which you approached me today. I appreciate it.").

           The Court then sentenced Mr. Chansley to 41 months' incarceration as to Count Two, the

    bottom of the Guidelines range, with credit for time served. See J., ECF No. 92, at 2. In explaining

    the sentence, the Court stated: "[W]hat you did here was horrific, as you now concede, and

    obstructing the functioning of the government as you did is the type of conduct that is so serious

that I cannot justify a downward departure [from the Sentencing Guidelines range of 41 to 51

months]." Sent'g Hr'g Tr. at 48:22-25. Even considering the seriousness of the offense, the Court

credited Mr. Chansley's remorse and acceptance of responsibility to sentence Mr. Chansley

consistent with the bottom of the applicable Guidelines range. See id. 49:1-3 ("I do think that the

minimum under the guidelines is something you've earned because you've done everything right

from the time that you started in the other direction."). The Court also sentenced Mr. Chansley to

three years of supervised release, a special assessment of$ 100, and $2,000 in restitution. 2 See J.

at 3, 6. Approximately two weeks after sentencing, Mr. Chansley's current counsel, Mr. William




2
 Mr. Chansley appealed his conviction, ECF No. 108, but the U.S. Court of Appeals for the District of Columbia
Circuit later issued a mandate dismissing Mr. Chansley's appeal pursuant to his own motion, ECF No. 112.

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    Shipley ("post-conviction counsel") appeared to represent Mr. Chansley, ECF No. 101 , and the

    Court granted plea counsel's motion to withdraw. Minute Entry (11/29/2021).

           In late March 2023, Mr. Chansley was released from custody after having completed his

    term of incarceration, accounting for his time previously served and good-time credit. 3

           D. Post-Sentencing Events Related to Mr. Chansley's Case

           On March 6, 2023, then-television host Tucker Carlson aired footage from January 6, 2021

    on his eponymous show. 4 The host claimed that certain videos recorded on January 6 had been

    withheld from the public and that such videos demonstrated that the Capitol rioters were merely

    "sightseers." That segment prominently featured Mr. Chansley.               All of the footage of Mr.

    Chansley aired on the program was recorded on CCTV cameras positioned inside the Capitol

    building between the times of 2:49 pm and 2:59 pm, except for one CCTV clip recorded at 2: 13

pm. Gov't Opp'n at 9-10. Mr. Chansley arrived at the Capitol more than one hour prior to this

period and stayed for some time afterward. Statement of Offense            ,r,r 4,   5, 16. The footage, in

relevant part, showed Mr. Chansley traversing hallways in the Senate side of the Capitol,

sometimes followed by and sometimes following law enforcement officers who did not visibly

impede Mr. Chansley' s movements. The footage did not include any audio recordings. The host

claimed that the videos undermined the legitimacy of the government's prosecution against Mr.

Chansley. Two days later, plea counsel stated on the same television program that he had not seen

the videos at any point during his representation of Mr. Chansley. 5



3Scott Macfarlane, "QAnon Shaman" Jacob Chansley Released Early from Federal Prison, Transferred to Halfway
House, CBS News, https://www.cbsnews.com/news/qanon-shaman-jacob-chansley-released-early-federal-prison-
halfway-house-jan-6/ [https://perma.cc/4WNZ-4WVS].
4
   Fox News, Tucker: This Video Tells A Different Story of Jan             6,    YouTube (Mar.    6, 2023),
https://youtu.be/Opy7MLGAPBk?t=169 [https://perma.cc/753P-ESUW].
5
  Fox News, "QAnon Shaman's" Lawyer Speaks Out After Jan. 6 Bombshell Footage Released, YouTube (Mar. 9,
2023) https://www.youtube.com/watch?v=WTdL5VtjbtY [https://perma.cc/T4BP-68ST].

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          On March 9, 2023, Dominic Pezzola, who at the time was on trial for his own felonious

 conduct on January 6, 2021, moved to dismiss his indictment based on the government's failure to

 disclose the footage aired on March 6, which Pezzola claimed was "exculpatory" for himself and

 Mr. Chansley. 6 See United States v. Pezzola, 21-cr-175-6 (TJK), ECF No. 679. On March 12,

 2023, the government opposed, claiming that the footage of Pezzola and Mr. Chansley aired during

 the broadcast was neither withheld from the defense nor exculpatory. Pezzola, ECF No. 689, at 2.

 Specifically, the government asserted that all of the footage aired on the broadcast, save for one

 10-second clip, was produced to defense counsel via the Evidence.com database by September 24,

2021, and that the remaining clip was produced on January 23, 2023. Id. at 3. Based on these

representations, along with a consideration of the applicable law, Judge Timothy J. Kelly denied

the motion because "Pezzola ha[d] not shown that the video footage tends to show his innocence"

"[n]or ha[d] the evidence been suppressed." Mem. Order, Pezzola, ECF No. 755, at 3.

         On March 17, 2023, Mr. Chansley's post-conviction counsel contacted the government via

letter asking specific questions about when the CCTV videos appearing in the March 6, 2023

segment were produced. Def.'s Mot. at 11; Gov't Opp'n at 9. The government responded on

March 27, 2023, explaining that all of the clips appearing in the broadcast, except for the 10-second

clip, were produced on October 22, 2021, and that the remaining clip was produced on February

21, 2023. Def.'s Mot. at 12; Gov't Opp'n at 9-10.

         The Court summarizes the videos aired on March 6, 2023 as the following:




6
  In early May 2023, a jury convicted Pezzola of eight of the ten crimes for which he was indicted, including seditious
conspiracy in violation of 18 U.S.C. § 2384. Verdict, United States v. Pezzola, 21-cr-175-6 (TJK), ECF No. 804.

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    Approximate Time             U.S. Capitol CCTV             Time Stamp in                Government's
    on January 6, 2021           Camera7                       Television Segment           Representation of
                                                                                            Approximate Date
                                                                                            Disclosed to Defense
                                                                                            via Evidence.com
    2:13 pm                     Camera A                       2:48                         May 2021 or October
                                                                                            22, 2021 8
    2:49 pm                     CameraE                        2:06                         October 22, 2021
    2:51 pm                     CameraE                        3:09                         October 22, 2021
    2:56pm                      CameraF                        4:31                         October 22, 2021
    2:56 pm                     Camera F                       5:14                         October 22, 2021
    2:57 pm                     CameraD                        3:35                         October 22, 2021
    2:57pm                      CameraD                        5:21                         October 22, 2021
    2:57pm                      CameraE                        4:12                         October 22, 2021
    2:57pm                      CameraE                        5:00                         October 22, 2021
    2:57pm                      CameraH                        3:40                         October 22, 2021
    2:57pm                      CameraH                        5:25                         October 22, 2021
    2:59pm                      CameraB                        3:28                         October 22, 2021
    2:59pm                      Camerae                        4:01                         October 22, 2021
    2:59pm                      CameraG                        3:48                         February 21, 2023 9

See De£ 's Mot. at 12; Gov't Opp'n at 9-10.

          In April 2023, Mr. Chansley, through counsel, moved to vacate, set aside, or correct his

sentence under 28 U.S.C. § 2255, claiming newly discovered evidence and ineffective assistance

of his plea counsel.         Def. ' s Mot. at 2--4.      Specifically, he claims that conduct by both the

government and his plea counsel with respect to the videos aired during the March 6 broadcast

rendered both his plea agreement and resulting sentence unconstitutional. Id. First, Mr. Chansley

asserts that the videos were both exculpatory and withheld from the defense in violation of Brady




7
  The Court follows government counsel's lead in referring to cameras by letter instead of their true identifiers due to
the sensitive nature of the cameras and their locations. See Gov't Opp'n at 9 n.4.
8
 Mr. Chansley's motion contains a purported excerpt from the government's March 27 letter indicating that this video
was produced via Evidence.com on October 22, 2021 along with the vast majority of the other videos appearing in the
segment. Def.'s Mot. at 12. However, the government's opposition indicates that this file was produced in May 2021.
Gov't Opp'n at 9. The exact date of production is immaterial, as the Court will explain, because the record
unmistakably shows that this video was not suppressed nor is it exculpatory.
9
  Even though this clip was not available to Mr. Chansley prior to the conclusion of his case, it does not exculpate him
nor would its disclosure have affected this Court's sentencing determination. See Part 111.C.

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v. Maryland, 373 U.S. 83 (1963), and that, had the videos been disclosed to the defense prior to

sentencing, plea counsel would have used the videos' contents to argue for, and that this Court

would have imposed, a lower sentence than the one Mr. Chansley received. Id. at 16-1 7. Second,

he claims that plea counsel was unconstitutionally ineffective because counsel did not seek

production of the videos from the government and because counsel recommended that Mr.

Chansley accept the plea agreement containing a sentencing-enhancement stipulation and waiving

appeal rights without this evidence. Id. at 17-21. Relatedly, he insists that further discovery into

the video-disclosure issue is required, particularly due to government's conflicting statements

regarding the dates of production as stated in filings in this and the Pezzola case. Id. at 21-22.

        In June 2023, the government opposed, insisting that Mr. Chansley has not met his burden

to establish that he is entitled to collateral relief because he either waived his claims or they are

meritless. Gov't Opp'n at 1. Mr. Chansley submitted a brief reply. Def.'s Reply, ECF No. 126.

Mr. Chansley's motion is now ripe for review.

                                  II.    LEGAL STANDARDS

       A. 28 U.S.C. § 2255

       A prisoner may move to vacate, set aside, or correct his sentence if (1) the sentence was

imposed "in violation of the Constitution or laws of the United States"; (2) the court lacked

jurisdiction to impose the sentence; (3) the sentence "was in excess of the maximum authorized

by law"; or (4) the sentence is "otherwise subject to collateral attack." 28 U.S.C. § 2255(a). The

petitioner bears the burden to prove his right to relief by a preponderance of the evidence. United

States v. Baugham, 941 F. Supp. 2d 109, 112 (D.D.C. 2012). A court need not hold an evidentiary

hearing when "the motion and the files and records of the case conclusively show the prisoner is

entitled to no relief." 28 U.S.C. § 2255(b).



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        B. Government's Discovery Obligations

        The government has a constitutional obligation, as recognized in Brady and its progeny, to

disclose "evidence in its possession that is favorable to the accused and material either to a

defendant's guilt or punishment." United States v. Trie, 21 F. Supp. 2d 7, 23 (D.D.C. 1998).

Favorable evidence "tends to help the defense by either bolstering the defense case or impeaching

potential prosecution witnesses." United States v. Sa/avian, 233 F.R.D. 12, 16 (D.D.C. 2005); see

also Brady, 373 U.S. at 87; Giglio v. United States, 405 U.S. 150, 153-55 (1972). To prevail on

a Brady claim, the defendant must show prejudice; in other words, '" a reasonable probability that,

had the evidence been disclosed to the defense, the result of the proceeding would have been

different."' United States v. Sitzmann, 893 F.3d 811, 826 (D.C. Cir. 2018) (quoting United States

v. Bagley, 473 U.S. 667, 682 (1985)). "A court should evaluate prejudice under Brady based on

the suppressed evidence as a whole rather than an 'item by item' basis." United States v. Martin,

No. 98-cr-329 (RCL), 2021 WL 4989983, at *4 (D.D.C. Oct. 27, 2021) (quoting Kyles v. Whitley,

514 U.S. 419,420 (1995)). Importantly, "[f]or an item to be Brady, it must be something that is

being 'suppress[ed] by the prosecution."' United States v. Blackley, 986 F. Supp. 600,603 (D.D.C.

1997) (quoting Brady, 373 U.S. at 87).

       C. Ineffective Assistance of Counsel

       To prevail on a claim of ineffective assistance of counsel, a petitioner "must prove both

incompetence and prejudice." Kimme/man v. Morrison, 477 U.S. 365, 381 (1986). Specifically,

the petitioner must demonstrate that (1) "counsel's representation fell below an objective standard

of reasonableness ... under prevailing professional norms" and (2) "there is a reasonable

probability that, but for counsel's unprofessional errors, the result of the proceeding would have

been different." Strickland v. Washington, 466 U.S. 668, 687-88, 694 (1984). That sets a high



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 bar, as a court's evaluation of counsel's actions "must be highly deferential," and is assessed under

 the circumstances present at the time of representation without the benefit of hindsight. Id. at 689.

 Furthermore, a "reasonable probability" under Strickland's second prong is one that is "sufficient

 to undermine confidence in the outcome." Id. at 694. To establish prejudice, the petitioner must

 show there is "a substantial, not just conceivable, likelihood of a different result." Cullen v.

Pinholster, 563 U.S. 170, 189 (2011) (internal quotations and modifications omitted).             An

 ineffective assistance of counsel claim is defeated if the defendant fails to demonstrate either

prong. Strickland, 466 U.S. at 700.

                                       III.    DISCUSSION

        Mr. Chansley' s motion concocts a Brady claim, and a derivative ineffective assistance of

counsel claim, based on videos aired devoid of context and supposedly inconsistent disclosure

dates provided by government counsel in two separate cases. These videos are decidedly not

exculpatory, especially when viewed in context with the "miles and miles and miles of footage"

recorded of Mr. Chansley on January 6, 2021. ECF No. 28, at 7:5--6. Such footage, conveniently

omitted by the March 6, 2023 program, shows nearly all of Mr. Chansley's actions that day,

including: carrying a six-foot-long pole armed with a spearhead, unlawfully entering the Capitol

through a broken door, disobeying orders from law enforcement on more than a half-dozen

occasions, screaming obscenities, entering the Senate chamber, climbing onto the Senate dais,

sitting in the Vice President's chair, and leaving a threatening message for the Vice President.

Moreover, the precise date that the particular videos appearing in the program were disclosed is

immaterial because Mr. Chansley and plea counsel were aware of the videos' content-Mr.

Chansley interacting with law enforcement officers who did not visibly impede his progress-by

May 20, 2021. In other words, Mr. Chansley possessed the facts in the videos well in advance of



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 his plea agreement, yet still determined, quite sensibly, to accept responsibility for his role in the

 criminal events of January 6, 2021. What is more, the record shows that the government disclosed

 virtually all of the videos at issue weeks before Mr. Chansley' s sentencing. These facts and the

 underlying law conclusively demonstrate that Mr. Chansley is not entitled to relief under§ 2255.

          A. Mr. Chansley's Claims Are Timely, Not Waived, and Not Moot

          As a threshold matter, Mr. Chansley claims are not time-barred. Under the Anti-Terrorism

 and Effective Death Penalty Act, a defendant must bring any § 2255 claims within one year of "the

 date on which the facts supporting the claim or claims presented could have been discovered

 through the exercise of due diligence." 28 U.S.C. § 2255(£)(4). Mr. Chansley's claims rely on

 facts, namely alleged discrepancies in the dates and circumstances surrounding discovery in his

 case, discovered in March 2023. Because Mr. Chansley filed his motion within one year after

these events, his motion is timely.

         Nevertheless, the government insists that Mr. Chansley's Brady claim is procedurally

barred because he waived this claim through his plea agreement. 10 Gov't Opp'n at 14-16. Mr.

Chansley agreed to waive a collateral challenge to his conviction unless the motion was based on

"newly discovered evidence." Mr. Chansley responds that his claim is not waived because neither

he nor his plea counsel were aware of the specific evidence (the videos broadcast on March 6,

2023), even if they may have been aware of the facts contained in the evidence. Def.'s Reply at

2-3. The Court is mindful of the government's view that the "concern with finality served by the

limitation on collateral attack has special force with respect to convictions based on guilty pleas."

Gov't Opp'n at 15 (quoting Bousley v. United States, 523 U.S. 614, 621 (1998)). At the same




10
  Mr. Chansley's plea agreement expressly reserved the right to collaterally attack his conviction based on a claim of
ineffective assistance of counsel. Plea Agreement ,r IX(E).

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 time, this Court "will not bar the door" to Mr. Chansley's collateral attack when "his waiver only

 arguably or ambiguously forecloses his claims." United States v. Hunt, 843 F.3d 1022, 1027 (D.C.

 Cir. 2016). Because it is not clear that Mr. Chansley's plea agreement unambiguously waived his

right to bring his claim, and because the government admits that one 10-second video appearing

in the March 6, 2023 was not disclosed prior to Mr. Chansley's plea and sentencing, the Court

concludes that Mr. Chansley did not waive his Brady claim.

        Additionally, although not raised by either party, the Court notes that Mr. Chansley's

claims are not moot even though he ended his period of incarceration prior to filing his motion. In

addition to a prison term, the Court sentenced Mr. Chansley to supervised release, a special

assessment, and restitution. He may still pursue relief from the remaining aspects of his sentence

under§ 2255. See United States v. Mejia, No. 10-cr-256-03 (RCL), _ F. Supp._, 2023 WL

2297465, at *2 (D.D.C. Feb. 23, 2023) (citing United States v. Mejia, No. 20-3086, 2022 WL

4280686, at *1 (D.C. Cir. Sept. 14, 2022)).

        The Court will therefore proceed to the merits of Mr. Chansley' s claims.

        B. Brady Applies at the Plea-Bargaining Stage

        Mr. Chansley' s motion assumes that Brady provides a right to the disclosure of exculpatory

information by the government to the criminal defendant at the plea-bargaining stage but does not

directly address this question or offer any authority to support his position. The government, on

the other hand, does engage with the question-whether Brady applies throughout the criminal

proceeding or if it is only a trial right-and notes that there is currently a circuit split on the issue

with no binding authority in this Circuit, but does not take a formal position. See Gov't Opp'n at

11 n.5; compare United States v. Avellino, 136 F.3d 249, 255 (2d Cir. 1998) (holding that Brady

applies to the non-disclosure of exculpatory evidence prior to plea bargain); Campbell v. Marshall,



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 769 F.2d 314, 322-24 (6th Cir. 1985) (same); White v. United States, 858 F.2d 416,422 (8th Cir.

 1988) (same); Sanchez v. United States, 50 F.3d 1448, 1453 (9th Cir. 1995) (same); United States

 v. Ohiri, 133 Fed. App'x 555, 561--62 (10th Cir. 2005) (same); with United States v. Moussaoui,

 591 F.3d 263,285 (4th Cir. 2010) (holding that Brady applies to the non-disclosure of exculpatory

 evidence only at the trial stage); Matthew v. Johnson, 201 F.3d 353, 361--62 (5th Cir. 2000) (same).

        This Court joins the weight of authority and the principles enshrined in Brady to conclude

that a defendant may challenge the validity of his guilty plea on the basis of Brady. Plea bargaining

is a critical component of our modern criminal justice system. As the Supreme Court emphasized

in Brady, "our system of the administration ofjustice suffers when any accused is treated unfairly."

373 U.S. at 87. When a defendant is forced to decide whether to go to trial or plead guilty without

knowledge of exculpatory evidence in the government's possession, he suffers unfairness of the

highest order. This is because shielding the plea-bargaining process from Brady creates perverse

incentives for prosecutors to "deliberately withhold exculpatory information as part of an attempt

to elicit guilty pleas." Sanchez, 50 F .3d at 1453. What is more, plea bargaining is just one step in

the process of preparing for a trial. Plea agreements, like any other contract, are only finalized

after the assent of both parties. See Puckett v. United States, 556 U.S. 129, 137 (2009). In the

situation where a defendant and the government fail to reach a plea agreement, or if that agreement

is not accepted by the Court, a defendant must proceed to trial. A Brady rule that absolves the

government of any responsibility to disclose exculpatory evidence until the eve of trial would

impermissibly hinder a criminal defendant in the preparation of his defense. See United States v.

Pollack, 534 F.2d 964, 973-74 (D.C. Cir. 1976). Under these circumstances, the Court agrees

with the majority of circuit courts that Brady provides a right to the disclosure of exculpatory

information at the plea-bargaining stage.



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          C. Mr. Chansley's Brady Argument Is Without Merit

          Even though Mr. Chansley may assert his Brady claim, he does not meet his burden to

 show that he is entitled to relief on that basis.             He argues that the government violated its

 obligations under Brady, and therefore secured an unconstitutional sentence, by not disclosing the

 videos broadcast on March 6, 2023. Mr. Chansley's argument, and its various permutations, is

 belied by the record, applicable law-or both.

          1. Nearly all of the videos at issue were disclosed to the defense

          Mr. Chansley relies primarily on a televised statement by his former counsel-unswom

and not subject to Rule 11 sanctions-along with the absence of plea counsel's discussion of the

videos at sentencing as evidence that the videos were withheld from the defense. Perhaps plea

counsel's memory has faded over the past two years. Perhaps plea counsel's statement was fueled

by personal motives contrary to the interest of his former client. Regardless, the record is plain

that the vast majority of the videos, and all the pertinent content contained therein, was indeed

disclosed to the defense as early as May 2021 and by mid-October 2021 at the latest. 11

          All of the facts surrounding Mr. Chansley's movements around the Capitol featured in the

television program were disclosed months before Mr. Chansley's guilty plea, as he concedes.

Def. 's Reply at 2-3.         For example, the program showed Mr. Chansley's interaction with

enforcement officers in the Senate stairwell, after he left the Senate gallery and before he entered

the Senate chamber. This same footage was captured by MPD body-worn cameras that were made

discoverable on May 17, 2021. Gov't Opp'n at 18; ECF No. 38-1 at 2. Finally, grand jury

transcripts containing testimony of an officer who encountered Mr. Chansley several times on



11
   One IO-second video showing Mr. Chansley's movements outside of the Senate chamber was not disclosed to plea
counsel prior to sentencing. However, because that video was not exculpatory, there is no Brady violation with respect
to that video. See Part III.C.2.

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 January 6, 2021, and who appears in the footage aired in the March 6, 2023 broadcast, were

 disclosed to plea counsel by May 19, 2021. Gov't Opp'n at 19; ECF No. 38-1 at 2. 12

          The television program also discussed Mr. Chansley' s time on the Senate floor. The record

 demonstrates that footage depicting these same events, recorded by The New Yorker, was disclosed

 to plea counsel on April 24, 2021. Gov't Opp'n at 18; ECF No. 38-1 at 2. On May 14, 2021, plea

 counsel confirmed by email that he was aware of the video and that it was his position that the

video "depict[ed] the door to the Chamber being held for Mr. Chansley by law enforcement as he

 entered into the Chamber (followed thereafter by law enforcement)[,]" whom plea counsel later

identified as Officer Robishaw. Gov't Opp'n at 18 (quoting Email, Ex. 1 to Sealed Gov't Opp'n,

ECF No. 124-1 at 1, 5). Plea counsel further claimed that the video showed Mr. Chansley "being

escorted into the Chamber just before 3:00p[m]." Id. (quoting Email at 1). In fact, plea counsel

demonstrated awareness of evidence of his client supposedly interacting peacefully with law

enforcement in the Capitol building two months earlier when he argued in support of his client's

(unsuccessful) motion for pre-trial release. ECF No. 28 at 10:2-4. Thus, plea counsel's statements

by email and in court reveal that counsel was aware of all pertinent facts aired in the March 6,

2023 program at least four months prior to Mr. Chansley' s plea.

         The vast majority of the CCTV footage aired on the program, which did not contain any

new facts, was made discoverable through Evidence.com prior to Mr. Chansley's sentencing.

Gov't Opp'n at 16-17. Mr. Chansley cries foul at the government's representation in the Pezzola

case-that disclosure occurred on September 24, 2021-and the government's representation in


12
   In fact, as Mr. Chansley admits, counsel was aware of this information even earlier. On January 9, 2021, Mr.
Chansley participated in an interview with the Federal Bureau of Investigation. Def. 's Mot. at 18-19. In that
interview, Mr. Chansley "claimed that police escorted him into the Senate Chamber and asked if he would assist in
getting the protestors to vacate the Chamber. [Mr.] Chansley claimed to use his megaphone to request that protestors
depart." Id. at 19. Though Mr. Chansley later contradicted the second claim through his agreement to the facts as
outlined in the Statement of Offense, the first claim is consistent with the Statement of Offense.

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 this case-that disclosure occurred on October 22, 2021-and claims that both representations are

 likely "false." Def.'s Mot. at 12. Rather than intentional government obfuscation, there is a far

 more likely, innocent explanation for the date discrepancy. As the government stated in its second

 discovery update in this case, filed on September 17, 2021, the government merely "expect[ed]"

to produce the videos via Evidence.com by September 24, 2021. The next update, filed on October

25, 2021, confirmed that the videos were, in fact, produced as of October 21, 2021 (which the

government now clarifies as October 22, 2021).        Regardless, contrary to defense counsel's

assertions, the information was, in fact, produced by October 2021 at the very latest.

        In alternative, Mr. Chansley argues that even if the videos were disclosed, the government

provided too many videos too late because it would have been physically impossible for defense

counsel to review the 4,800 hours of footage disclosed on October 22, 2021 before Mr. Chansley' s

sentencing in mid-November 2021. Def.'s Mot. at 16 & n.3. Aside from the fact that "[Mr.

Chansley] cite[ s] no authority for the proposition that the government fails to meet its Brady []

obligations by providing too much discovery," United States v. Bingert, Nos. 21-cr-91-1, 21-cr-

91-2 (RCL), 2023 WL 3203092, at *6 (D.D.C. May 9, 2023) (emphasis in original), this argument

is an obvious red herring. As the government points out, Mr. Chansley was well aware of the path

he walked on January 6, 2021.       Gov't Opp'n at 17.      That knowledge, combined with the

government's disclosure of maps showing the CCTV cameras' locations and a guide for

identifying the relevant cameras, certainly enabled the defense to focus on reviewing footage

captured by cameras only in the areas of the Capitol that Mr. Chansley actually visited.

       Mr. Chansley's Brady claim fails at the outset because the record confirms that none of the

relevant facts have been suppressed. Blackley, 986 F. Supp. at 603. The Court further notes that

"the volume of discovery does not excuse defense counsel," including Mr. Chansley's post-



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 conviction counsel, "from making reasonable efforts to ascertain whether an item has been

produced before making representations about what was and was not produced, let alone before

filing inaccurate and inflammatory allegations of discovery failures." Mem. Order, Pezzola, at 3.

        2. None of the videos are exculpatory

        Despite spilling much ink on the supposed significance of the videos, Mr. Chansley does

not explain why he believes the videos are exculpatory with respect to the charge to which he

pleaded guilty: obstruction of an official proceeding in violation of 18 U.S.C. § 1512(c)(2). This

is likely because he cannot make this showing.

        Mr. Chansley admitted to engaging in the following conduct on January 6, 2021, all before

the events recorded in the videos aired in the March 6, 2023 program: participating in a violent

riot; being one of the first rioters to unlawfully enter the Capitol; traveling through hallways,

stairwells, and the Senate gallery for approximately 38 minutes; encountering law enforcement on

several occasions; ignoring their direct orders; screaming obscenities; and demanding that fleeing

lawmakers be brought out to face the mob. Moreover, Mr. Chansley admitted to engaging in the

following conduct after the events recorded in the videos: entering the Senate chamber; climbing

on the Senate dais; ignoring multiple direct orders from the lone law enforcement officer in the

chamber; sitting in the Vice President's chair; leaving a threatening message for the Vice

President; leading the rioters in the chamber in a demonstration; and only vacating the chamber

after multiple other law enforcement officers arrived. These facts show that Mr. Chansley intended

to, and did, obstruct the certification proceedings. That law enforcement officers outnumbered by

the quantity of rioters did not physically engage Mr. Chansley or impede his progress is irrelevant

to his guilt with respect to Count Two.




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        Of the videos appearing in the March 6, 2023 segment, one 10-second video was disclosed

in February 2023, after the conclusion of Mr. Chansley's case. The clip, capturing Mr. Chansley's

movements at approximately 2:59 pm, appears to show him outside of the Senate chamber

accompanied by two law enforcement officers. One of the law enforcement officers reaches out

to briefly touch a door before leading Mr. Chansley away from the Senate chamber. Mr. Chansley

argues that this video, and others, provide further context "about how he came to be inside the

Senate Chamber," which he argues is evidence casting doubt on his intent to obstruct the

certification proceedings. Def.' s Mot. at 19. This argument, like his others, misses the mark. The

circumstances surrounding his entry into the Senate chamber are not legally relevant. His presence

that day, his refusal to obey multiple orders :from law enforcement, and his specific statements and

actions all created serious safety concerns and forced an end to the certification proceedings,

consistent with his expressed intent. In addition, entry into the Senate chamber, or ev,en the Capitol

building, is not a required element for guilt under 18 U.S.C. § 1512(c), as this Court has implicitly

determined numerous times. See, e.g., Notes for Oral Ruling, United States v. Worrell, No. 21-cr-

292-1, ECF No. 245 (D.D.C. May 12, 2023); Notes for Oral Ruling, Bingert, ECF No. 166; Notes

for Oral Ruling, United States v. Hostetter, No. 21-cr-392-1 (RCL), ECF No. 275 (D.D.C. July 13,

2023); Findings of Pact and Conclusions of Law, United States v. Powell, No. 21-cr-179 (RCL),

ECF No. 110 (D.D.C. July 18, 2023).

       As a fallback position, Mr. Chansley appears to argue that the videos show that "he

committed no acts of violence, that he expressed no hostility or intention to do violence to any

property or individuals" and therefore the 8-point sentencing enhancement was improper. Def. 's

Mot. at 19; see also id. at 17-19. But that argument suffers from the same fatal defect as the March

6, 2023 broadcast: it lacks the context of what occurred before and after. The enhancement applies



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 "[i]f the offense involved causing or threatening to cause physical injury to a person, or property

 damage, in order to obstruct the administration of justice[.]" U.S.S.G. § 2Jl.2(b)(l)(B). As

 explained above, Mr. Chansley's actions on January 6, 2021 more than fit the bill.

        Whether the videos from the March 6, 2023 television segment are viewed individually or

in context with the rest of the evidence against Mr. Chansley, the videos are not exculpatory.

Therefore, Mr. Chansley's Brady claim fails at the second prong of the analysis as well.

        3. The government's discovery approach in his case did not violate its Brady obligations

        Separate from the alleged failure to disclose specific videos, Mr. Chansley argues that the

government's approach to discovery contravened the applicable Brady standard in this District.

See, e.g., Def. 's Mot. at 9; Def. 's Reply at 3-4. That argument, like his others, is misplaced.

        In cases involving voluminous discovery, courts are "wary of requiring the government to,

in effect, do defense counsel's work for them and of inserting itself into the fray of micromanaging

discovery in these cases." United States v. Sheppard, No. 21-cr-203 (JDB), 2022 WL 17978837,

at *14 (D.D.C. Dec. 28, 2022). "On the other hand, [courts are] sympathetic to the needle-in-the-

haystack problem defendants face when confronted with such enormous amounts of discovery,

only some of which is relevant to their cases, particularly since defense counsel have

comparatively fewer resources at their disposal for identifying which evidence is relevant."

Bingert, 2023 WL 3203092, at *6 (citing United States v. Hsia, 24 F. Supp. 2d 14, 29 (D.D.C.

1998)). Balancing the government's obligations and defendants' responsibilities, courts in this

District have settled on the following standard: '"[T]o the extent that the government knows of

any [Brady] material in its production,' the Court will 'require [the government] to identify' it."

Sheppard, 2022 WL 17978837, at *14 (alterations in original) (quoting United States v. Saffarinia,

424 F. Supp. 3d 46, 86 (D.D.C. 2020)).



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        Mr. Chansley cites the government's first September 17, 2021 discovery update, and the

 two district court cases referenced in a footnote therein, as evidence that the government's

approach to discovery does not adhere to Saffarinia. Def 's Mot. at 14; ECF No. 75 at 2 (citing

 United States v. Meek, No. 19-cr-378 (JMS/MJD), 2021 WL 1049773, at *5 (S.D. Ind. Mar. 19,

2021) and United States v. Ohle, No. S3-08-cr-1109 (JSR), 2011 WL 651849, at *4 (S.D.N.Y. Feb.

7, 2011)).

        Taking the second portion of his argument first-and declining to opine on the wisdom of

the government's choice to cite out-of-circuit, unpublished memorandum orders for points oflaw

as important as Brady-Mr. Chansley' s argument misses the mark. The government cited those

cases merely for the proposition that "[ d]efendants are in a better position to determine what

evidence they believe is exculpatory and will help in their defense" than the government. ECF

No. 75 at 2 (citing Meek, 2021 WL 1049773, at *5). That proposition is not inconsistent with

Saffarinia. What is more, Mr. Chansley reads Saffarinia far too broadly. That opinion clearly

held that the government is only required "to identify Brady material already known to it based on

its existing knowledge of the documents it collected and reviewed in the first instance[,]" and that,

as a corollary, the government is not required to "sift through the evidence in search of anything

that could help the defense[.]" Saffarinia, 424 F. Supp. 3d at 86 (emphases in original) (internal

citations omitted). In other words, Saffarinia does not require the government to specifically

identify to a defendant any evidence in the government's voluminous disclosures that could

conceivably qualify as Brady material based on the government's anticipation of any possible

defense theory. Instead, Saffarinia only requires the government to identify exculpatory evidence

of which it is aware.




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        The first part of Mr. Chansley's Brady argument similarly falters.           In his view, the

government's en masse production of discovery with the opportunity for defendants to lodge

specific requests for information that they believe to be exculpatory is improper because this

District "looks with disfavor on narrow readings of the government's Brady obligations[.]" Def. 's

Mot. at 10 (collecting cases). But it is precisely the government's recognition of this District's

exacting Brady standards that compelled the government to contract for, fund, and facilitate the

introduction of a platform to disseminate massive amounts of discovery in cases related to January

6, 2021, and to equip defense teams with the tools necessary to digest the information made

available on the platform. To be sure, this unprecedented prosecutorial effort places enormous

disclosure burdens on the government and necessitates novel approaches to sharing discovery

information with defendants. That said, Mr. Chansley has not demonstrated how the government's

approach is inconsistent with Brady.

        As a last gasp, Mr. Chansley faults the government for not providing him with specific

discovery earlier because he was "easy to identify in the crowd of people who entered the Capitol"

due to his distinctive costume. Def.'s Mot. at 13. Mr. Chansley does not cite any authority, and

the Court is aware of none, stating that the government faces a heightened Brady obligation merely

because a defendant is recognizable. Regardless, as previously discussed, the evidence that Mr.

Chansley claims is exculpatory is decidedly not so.

                                          *       *       *

       Mr. Chansley has failed to demonstrate that the government fell short of its Brady

obligations with respect to the production of video evidence in his case. Therefore, this claim fails.




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        D. Mr. Chansley's Ineffective Assistance of Counsel Argument Is Without Merit

        Despite his repeated assertions that he was satisfied with plea counsel in writing and on the

 record, Mr. Chansley now argues that plea counsel was ineffective in two ways: (1) by encouraging

 him to accept a plea agreement containing a sentencing enhancement and appeal waivers; and (2)

 by not demanding production of the CCTV videos aired during the March 6, 2023 program prior

 to sentencing in order to use such video at sentencing. Def.'s Mot. at 17-21. He claims that he

 suffered prejudice because, absent these errors, he would have received a more favorable plea

agreement and the Court would have imposed a lower sentence. Id. His argument is wildly

speculative, contrary to established caselaw and practice, and devoid of common sense.

        I. Mr. Chansley has not demonstrated that plea counsel's performance was deficient

        Mr. Chansley's ineffective assistance of counsel claim stumbles at the start because he is

unable to establish that his plea counsel's performance was deficient.

        Mr. Chansley's first argument, that plea counsel erred in negotiating the terms of his plea

agreement, collapses upon cursory inspection. First, a "prosecutor is not obligated to make a plea

offer at all, let alone a plea offer on any particular terms." United States v. Zaia, 751 F. Supp. 2d

132, 143 (D.D.C. 2010). Similarly, Mr. Chansley does not point this Court to any authority stating

that counsel has a constitutional duty to pursue a plea agreement more favorable than the

agreement actually offered. What is more, dissatisfaction with the terms of a plea agreement alone

cannot serve as a basis for an ineffective assistance of counsel claim. See United States v. Brunetti,

376 F.3d 93, 95 (2d Cir. 2004); Hunter v. United States, 160 F.3d 1109, 1115 (6th Cir. 1998).

Second, plea counsel's suggestion to Mr. Chansley that he accept the plea agreement with the

sentencing enhancement and appeal waiver fell squarely within the "wide range of reasonable

professional assistance" that Strickland protects. 466 U.S. at 689. In exchange for Mr. Chansley' s



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 plea, the government agreed to dismiss the other charges pending against him and not to pursue

 other potential sentencing enhancements. Gov't Opp'n at 24 n.11. This sort of bargained-for-

 exchange is entirely consistent with effective performance by counsel during the plea process.

        Mr. Chansley' s second claim, that plea counsel erred by not demanding or using the CCTV

footage, also fails. As previously discussed, plea counsel did, in fact, have access to the videos

well in advance of Mr. Chansley's sentencing. Similarly, as the government correctly notes, the

record reflects that plea counsel reviewed such evidence with Mr. Chansley. See id. at 27 (citing

Sent'g Hr'g Tr. at 26:13-16). And contrary to Mr. Chansley's insistence, plea counsel's decision

not to present the videos during sentencing does not demonstrate ineffective assistance-in fact, it

was quite effective. The Court agrees with the government that plea counsel's strategic choice to

use his presentation to focus on Mr. Chansley's remorse and acceptance of responsibility, rather

than present additional video evidence in a futile attempt to contradict the obvious facts of the

case, was objectively reasonable. See id. at 27-28. And that decision was all the more reasonable

when considering that the Court previously rejected as unpersuasive plea counsel's attempt to cite

the facts contained in the videos in light of the rest of the evidence of Mr. Chansley's conduct. See

Chansley, 525 F. Supp. 3d at 170-71. Plea counsel sensibly changed course at sentencing, noting

that the government was still pursuing investigations and gathering evidence related to the events

of January 6, 2021, but that he and Mr. Chansley were "not in a position of slowing this court

proceeding down because [they didn't] have to, because those investigations, those outcomes are

irrelevant as to [Mr. Chansley], as to the defendant in this case, as to the decision of [Mr. Chansley]

to enter a plea[.]" Sent'g Hr'g Tr. at 16:11-15. Plea counsel emphasized that Mr. Chansley wanted

"to be held accountable based on evidence that we have today, that this court has seen." Id. at

16:16-17. Based on this presentation, along with Mr. Chansley's own comments, the Court



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 determined that the appropriate sentence in his case was the bottom of the applicable Guidelines

range, despite the seriousness of Mr. Chansley' s conduct.

          Mr. Chansley does not meet his burden to establish that plea counsel performed deficiently.

          2. Mr. Chansley has not demonstrated that he suffered any prejudice

          As for prejudice, Mr. Chansley attempts to tread a fine line. He wisely does not claim that

he would have opted for trial absent counsel's performance. Nor could he.13 Instead, he argues

that, had plea counsel performed effectively, he would still have proceeded with a plea agreement,

but would have agreed to one absent the sentencing-enhancement stipulation or the appeal waivers.

Def.'s Mot. at 20-21.           Mr. Chansley argues that without the stipulation, his recommended

Guidelines sentence would have been lower and that without the waiver, he would have been able

to appeal his sentence on any grounds he wished. Id. However, these hypothetical scenarios fall

woefully short of establishing a legally sufficient showing of prejudice.

         As discussed above, neither the government nor plea counsel had any obligation to reach a

plea agreement without the sentencing enhancement or appeal waiver. Also, the enhancement at

issue, U.S.S.G. § 2Jl.2(b)(l)(B), has been approved by courts in this District in a variety of cases

involving the events of January 6, 2021, including this Court. Gov't Opp'n at 26 (collecting cases).

And regarding the appeal waiver, it is clear that "[a] 'knowing, intelligent, and voluntary' waiver

of the right to appeal 'generally may be enforced."' United States v. Adams, 780 F .3d 1182, 1183

(D.C. Cir. 2015) (quoting United States v. Guillen, 561 F.3d 527, 529 (D.C. Cir. 2009)). Mr.

Chansley has not alleged, much less shown, that his plea was not knowing, intelligent or voluntary.


13
   Both the government and plea counsel acknowledged the overwhelming evidence of Mr. Chansley's guilt, Sent'g
Hr'g Tr. at 4: 13-16; 16:18-21. Given these facts, "[i]t is highly improbable" that Mr. Chansley would have declined
to plead guilty and instead proceed to trial. United States v. Thomas, 999 F.3d 723, 738 (D.C. Cir. 2021). Furthermore,
Mr. Chansley faced a potential sentence of 20 years in prison-more than five times longer than the term he actually
received-had he gone to trial. Sent'g Hr'g Tr. at 42:12-18. A defendant cannot establish prejudice under these
circumstances. See United States v. Ayers, 938 F. Supp. 2d 108, 115 (D.D.C. 2013).

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 Nor has he so much as hinted at what other legal challenges to his conviction he could or would

 have raised had he not waived his direct-appeal rights. Under these circumstances, he cannot show

 that he suffered any prejudice due to the terms of the plea agreement that he accepted.

          Similarly, Mr. Chansley has not met the required prejudice showing with respect to plea

 counsel's alleged failure to demand or use the CCTV footage appearing in the March 6, 2023

 broadcast. Even if plea counsel had presented the Court with this footage, which, as discussed

 above, plea counsel was correct not to, Mr. Chansley would not have received a lower sentence.

 The criminal nature of Mr. Chansley's actions that day, including his decision to leave a note

 threatening "It's Only A Matter of Time. Justice Is Coming!" at the heart of the U.S. government,

 establish the appropriateness of a sentence of at least 41 months' incarceration. 14 In fact, without

Mr. Chansley' s apparently unequivocal acceptance of responsibility, the Court is confident that he

would have received a higher sentence.

          In sum, Mr. Chansley cannot demonstrate that either the absence of certain terms in the

plea agreement or the presence of the CCTV footage at sentencing would have resulted in even a

"conceivable[] likelihood of a different result," much less a "substantial" one. Cullen, 563 U.S. at

189. Therefore, he has not established prejudice.

                                                  *        *        *

         Mr. Chansley' s claims are without merit. Thus, the Court will DENY his motion to vacate,

set aside, or correct his conviction under 28 U.S.C. § 2255.




14
   At the time of his November 2021 sentencing, the government had not gathered any evidence that Mr. Chansley
was aware of the noose hanging outside of the Capitol building at the time that he sat in the Vice President's chair and
wrote his threatening note. Sent'g Hr'g Tr. at 8:7-13. Therefore, the Court did not take that event into consideration
in imposing Mr. Chansley's sentence. Since then, the government has gathered terabytes of additional evidence
regarding the events of January 6, 2021. Were Mr. Chansley to be resentenced today, perhaps the government would
be able to present such evidence and, if so, the Court would certainly consider such evidence in imposing a new
sentence.

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            The Court is disappointed to learn that, through his filings and public statements, Mr.

 Chansley has recanted the contrition displayed at his sentencing nearly two years ago. 15 Such an

 about-face casts serious doubt on the veracity of any of Mr. Chansley' s claims, here or elsewhere.

            Finally, the Court would be remiss if it did not address the ill-advised television program

 of March 6, 2023. Not only was the broadcast replete with misstatements and misrepresentations

 regarding the events of January 6, 2021 too numerous to count, the host explicitly questioned the

 integrity of this Court-not to mention the legitimacy of the entire U.S. criminal justice system-

 with inflammatory characterizations of cherry-picked videos stripped of their proper context. In

 so doing, he called on his followers to "reject the evidence of [their] eyes and ears," language

resembling the destructive, misguided rhetoric that fueled the events of January 6 in the first

place. 16 The Court finds it alarming that the host's viewers throughout the nation so readily heeded

his command. But this Court cannot and will not reject the evidence before it. Nor should the

public. Members of the public who are concerned about the evidence presented in Mr. Chansley's

case and others like may view the public docket and even attend court proceedings in these cases.

Those ofus who have presided over dozens of cases arising from, listened to hundreds of hours of

testimony describing, and reviewed thousands of pages of briefing about the attack on our

democracy of January 6 know all too well that neither the events of that day nor any particular

defendant's involvement can be fully captured in a seconds-long video carelessly, or perhaps even

cynically, aired in a television segment or attached to a tweet.




15
   See, e.g., Caitlin Sievers, "QAnon Shaman" Looks to Overturn Sentence, Says He Never Renounced QAnon, A'Z
Mirror (June 22, 2023), https://www.azmirror.com/2023/06/22/qanon-shaman-looks-to-overtum-sentence-says-he-
never-renounced-qanon/ [https://perma.ccN84G-UUR.7]; Mike Wendling, The 'QAnon Shaman' and Other Capitol
Rioters Who Regret Pleading Guilty, BBC News (July 16, 2023), https://www.bbc.com/news/world-us-canada-
66169914 [https://perma.cc/8MTE-PWKM].
16
     George Orwell, 1984, at 103 (1949).

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                         IV.     CERTIFICATE OF APPEALABILITY

        Before appealing a final order denying a § 2255 motion, a court must "issue or deny a

 certificate of appealability." Fed. R. Governing § 2255 Proceedings 1 l(b). The defendant may

not appeal without this certificate of appealability, which requires "a substantial showing of the

denial of a constitutional right." 28 U.S.C. § 2253(c).        Doing so requires the defendant to

demonstrate "that reasonable jurists could debate whether (or, for that matter, agree that) the

petition should have been resolved in a different manner or that the issues presented were adequate

to deserve encouragement to proceed further." Slack v. McDaniel, 529 U.S. 473, 484 (2000)

(quoting Barefoot v. Estelle, 463 U.S. 880, 893 & n.4 (1983) (internal quotation marks omitted)).

When a district court denies relief on procedural grounds, the defendant must also show that

reasonable jurists would debate "whether the district court was correct in its procedural ruling."

United States v. Baxter, 761 F.3d 17, 26 n.10 (D.C. Cir. 2014) (quoting Slack, 529 U.S. at 484).

        Mr. Chansley's arguments are without merit. For these reasons, the Court finds that

reasonable jurists would not debate whether his claims deserve encouragement to proceed further.

Mr. Chansley has not made a substantial showing of the denial of a constitutional right. The Court

will therefore decline to issue a certificate of appealability for Mr. Chansley's claims.

                                      V.     CONCLUSION

       For these reasons, the Court concludes that Mr. Chansley's motion and the record in his

case do not show his entitlement to relief.           No evidentiary hearing is warranted, see

28 U.S.C. § 2255(b), and the Court will DENY Mr. Chansley's motion.                No certificate of

appealability shall issue. A separate Order consistent with this Memorandum Opinion shall issue.




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SIGNED this   ~ day of July, 2023 .
                                                  Royce C. Lamberth
                                              United States District Judge




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